Case 24-62678-jwc      Doc 15     Filed 01/02/25 Entered 01/02/25 10:27:55               Desc Main
                                  Document      Page 1 of 2



                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:                                        )      CHAPTER 13
                                               )
 NICOLE LOUISE PEDROZA,                        )      CASE NO. 24-62678-JWC
                                               )
        Debtor.                                )

                      DEBTOR'S VOLUNTARY DISMISSAL
                           OF CHAPTER 13 CASE

        COMES NOW, the Debtor in the above styled case, and states the following:

               1. Debtor filed a petition for relief under Chapter 13 of the

 Bankruptcy Code on December 1, 2024.

               2. This case has not been converted to any other Chapter pursuant

 to, 11 U.S.C. §706 or 11 U.S.C. §1112.

               3. Debtor is pursuing other remedies with her mortgage lender and

 other creditors, therefore, Debtor no longer requires the protection afforded by this

 Chapter 13 case.

        WHEREFORE, Debtor prays for an Order dismissing the Chapter 13 case

 pursuant to 11 USC Section 1307(b).

        This 2nd day of January, 2025.


                                                              ___/s/____________________
                                                              Richard K. Valldejuli, Jr.
                                                              GA State Bar No: 723225
 Valldejuli & Associates, LLC
 3801 Holcomb Bridge Road, Suite F-1
 Norcross, GA 30371
 Cell Phone/Text (404) 272-3192
 rkv@valldejuliandassociates.com
Case 24-62678-jwc      Doc 15    Filed 01/02/25 Entered 01/02/25 10:27:55             Desc Main
                                 Document      Page 2 of 2



                                CERTIFICATE OF SERVICE

      This is to certify that I have this day served all parties in the foregoing matter with a
 copy of the foregoing Debtor’s Voluntarily Dismissal of Chapter 13 Case by consent of the
 parties, the following have received an electronic copy to:

                                      Nancy J. Whaley
                          Nancy J. Whaley, Standing Ch. 13 Trustee
                               303 Peachtree Center Avenue
                           Suite 120, Truist Plaza Garden Offices
                                    Atlanta, GA 30303

       I further certify that the following have received service by depositing in the
    United States Mail, a copy of same in a properly addressed envelope with adequate
    postage thereon to

                                       Nicole Pedroza
                                 15055 Birmingham Highway
                                     Milton, GA 30004

                                This 2nd day of January, 2025.


                                                              ___/s/____________________
                                                              Richard K. Valldejuli, Jr.
                                                              GA State Bar No: 723225
 Valldejuli & Associates, LLC
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